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                 EXHIBIT B




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                  State Administration of Taxation
                      the Third Inspection Bureau
          of the Beijing Municipal Bureau of Taxation
                               Exigent Notice
      (For compulsory execution of the People's Court)
                      No. JING SHUI JI SAN QIANG CUI (2021)10

NQ MOBILE BEIJING CO. LTD.
     This organ hereby serves you ( unit) the < Decision on Tax Administrative
Punishment > (JING SHUI JI SAN FA [2021] No.39) , You (unit) have not applied for
administrative reconsideration or filed an administrative lawsuit within the statutory
time limit, and have not implemented the administrative decisions made by this
organ.According to Article 54 of the Administrative Compulsory Law of the People's
Republic of China, now summon exhortation to you (unit) according to law, you
(the unit) should fulfill the following obligations within 10 days from the date of
receipt of this notice:
     As stipulated in Article 60(2) of the Tax Collection and Administration Law of the
people's Republic of China,fails to set up and file the accounts books in accordance
with the regulations, or file bookkeeping vouchers and relevant data. Your company
is imposed 10,000 yuan fine for your illegal acts of failing to set up and file the
accounts books in accordance with the regulations.
     If still fails to perform obligations within the time limit, this organ will apply to
the people's court for compulsory enforcement in accordance with the law.
     You (unit) shall have the right to state and defend on receipt of the exigent
notice. You (unit) are requested to submit a statement and defense within three days
from the date of receiving this exigent notice. If you fail to state or defend within the
time limit, it shall be deemed as a waiver of the right to state and defend.
     Liaison: Zhao Yulan
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     Phone: 62673271
     Address: Room 307, Building 2, YI 3, Xiyuan Sports-ground, Haidian District,
Beijing
     Attn.: law enforcement officer; Li Ran, Zhao Yulan (JING SHUI JI 1103192106,
JING SHUI JI 1103190023)
                  (Sealed by State Administration of Taxation
              the Third Inspection Bureau of the Beijing Municipal Bureau of Taxation)
                                            June 21, 2021
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